     Case 5:15-cv-01278-TJH-JC Document 9 Filed 10/05/15 Page 1 of 2 Page ID #:39



1    L. Paul Mankin (SBN 264038)
2    The Law Office of L. Paul Mankin IV
     8730 Wilshire Blvd., Suite 310
3    Beverly Hills, CA 90211
4
     Phone: 800-219-3577
     Fax: 323-207-3885
5    pmankin@paulmankin.com
6
     Attorney for Plaintiff
7

8

9
                               UNITED STATES DISTRICT COURT

10
                              CENTRAL DISTRICT OF CALIFORNIA
11
     LORRAINE HOLLAND, an               ) Case No.: 5:15-cv-01278-TJH-JC
12
     individual,                        )
13                                      ) NOTICE OF SETTLEMENT
            Plaintiff,                  )
14
                                        )
15            vs.                       )
                                        )
16
     MIDLAND CREDIT                     )
17   MANGEMENT, INC.; and DOES 1 )
     through 10, inclusive,             )
18
                                        )
19          Defendant.                  )
                                        )
20
     __________________________________ )
21

22
            NOW COMES THE PLAINTIFF by and through her attorney to respectfully
23
     notify this Honorable Court that this case has settled.       Plaintiff requests that this
24

25   Honorable Court allow sixty (60) days with which to file dispositive documentation. A
26
     Voluntary Dismissal will be forthcoming. This Court shall retain jurisdiction over this
27
     matter until fully resolved.
28




                                        Notice of Settlement - 1
     Case 5:15-cv-01278-TJH-JC Document 9 Filed 10/05/15 Page 2 of 2 Page ID #:40



1                  Respectfully submitted this 5th day of October 2015.
2
                                             By: /s/L. Paul Mankin
3                                                L. Paul Mankin
4
                                                 The Law Office of L. Paul Mankin IV
                                                 Attorney for Plaintiff
5

6
     Filed electronically on this 5th day of October 2015, with:
7

8
     United States District Court CM/ECF system

9    Notification sent electronically via the Court’s ECF system to:
10
     Honorable Terry J. Hatter, Jr.
11   United States District Court
     Central District of California
12

13   Peter J. Caltagirone, Esq.
     SOLOMON WARD SEIDENWURM & SMITH, LLP
14
     Attorney for Defendant
15
     This 5th day of October 2015
16

17   /s/L. Paul Mankin
     L. Paul Mankin
18

19

20

21

22

23

24

25

26

27

28




                                         Notice of Settlement - 2
